Case 1:18-cv-OO451-GWC Document 1-1 Filed 04/16/18 Page 1 of 6

EXH|B|T A

Case 1:18-cv-OO451-GWC Document 1-1 Filed 04/16/18 Page 2 of 6

 

 

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NYSCEF DOC. NO. l RECEIVED NYSCEF: 03/29/'2018
sums oF NEW YORK

SUPREME COURT : COUNTY OF ERIE

 

HANNAH M. MELI SUMMONS
4139 Vinewood Drive
Williarnsville, New York 14221 lndex No.=

Plaim:iff,

Plaintif{" designates Erie
_agains;. Coxmty as the place of trial.

AMERICAN RED CROSS The basis of the venue is
344 West Genesee Smeet P}ainfifi`$ pla<§€ of
Syracuse, New York 13202 P€H!lan€nf r€Sld€nce.

Defendant.

 

To the above named Defendant:

YOU ARE HEREBY SUMMONED to answer the complaint in this action and to serve a
copy of your answer, or, if the complaint is not served with this summons, 10 serve a notice of
appearance on the plaintiffs attorneys within 20 days after the service of this summons, exclusive
of the day of service (or within 30 days aRer the Servioe is complete if this summons is not
personally delivered to you within the State ofNew York}; and in case of your failure to appear or
answer, judgment wi}l be taken again51 you by default for the relief demanded herein.

Dated: Mz;rch 29, 20.§ 8

KENNEY SHELTON LIPTAK NOWAK LLP

/ZLLM/“ @A/_\

Robert A. Crawford, Jr., Esq.
Atrorneysj?)r Plainn'jj‘

The Calumet Building

233 Franklin Street

Buffa!o, New York 14202
(716) 853-3801

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NYSCEF DOC. NO. l RECEIVED NYSCEE`: 63/29/2018
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SUPREME COUR_T : COUNTY OF ERIE

 

HANNAH M. MELI,
COMPLAINT
Plaintiff,
-agairzst~ lndex No.
AMERICAN RED CROSS,

Defendant.

 

The Plaintiff, HANNAH M. MELI, by and through her attorneys KENNEY SHELTON
LIPTAK NOWAK LLP, for her cause of action against the defendant, herein allege as follows:

1. At all times hereinafter mentioned, the plaintiff HANNAH M. MELI, was and still
is a permanent resident of the County of Erie and State ofNew ¥ork.

2. That at ali times hereinafter meationed, defendant, AMERICAN RED CROSS
(hereinafter "Defendant") is a domestic not-for‘profit organization, authorized to do business in
the State ofNew York.

3. Upoa information and belief, at ali times hereinafter materiai and mentioned, the
plaintiff HANNAH M. MELI, was enrolled as a student at Nazareth College, located at 4245 East
Avenue, Rochester, New York' (hereinaf‘cer “the premises”).

4. Upon information and beiief, at ali times hereinafcer material and mentioned,
defendant was present on the premises on or about September 14, 2016 and authorized to perform

and administer blood donation collection and services

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Case 1:18-cv-OO451-GWC Document 1-1 Filed 04/16/18 Page 4 of 6
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5. Upon information and belief, plaintiff HANNAH M. MELI, was a participant in
the blood donation collection and services provided by defendant on the premises on or about
September 14, 2016.

6. That upon information and belief, as the owners, managers and/or entities
responsible for organizing blood donation collection and services on September 14, 2016 at the
premises, Defendant had a duty to protect those present and/or participating in the blood donation
collection and services at the premises, which duty includes but is not limited to taking all
necessary precautions making accommodations for all prospective or actual donors and utilizing
an appropriate protocol to protect donors from injuries before, during and after the donation of
blood.

AS FOR A FIRST CAUSE OF ACTION AGAINST THE I)EFENI)ANT HEREXN
PLAINTIFF HANNAH M. MEL[ ALLEGES THE FOLLOWING:

7. Plaintiif repeats and realleges each and every allegation contained with paragraphs
designed “l” through “6” as if set forth more fully herein

8. That upon information and belief, at approximately 2:30 p.rn. on September 14,
2016, plaintiff HANNAH M. MELl attempted to donate blood at the premises through a collection
organized by Defendant.

9. While at the aforementioned premises, the Plaintiff, HANNAH M. MELI, was
caused to sustain severe and permanent personal injuries when she was caused to lose
consciousness fall and hit her face and head at the premises, following the donation of blood.

lO. That plaintist injuries were caused solely and wholly as a result of the negligence
of Defendant herein, including but not limited to its failure to monitor the plaintiff following her

blood donation and without any negligence on the part of the plaintiff contributing thereto

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Case 1:18-cv-OO451-GWC Document 1-1 Filed 04/16/18 Page 5 of 6
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ll. Upon information and belief, the PlaintiH, HANNAH M. MELI’s injuries were the
result of the carelessness and negligence of the Defendant herein, their agents, servants and/or
employees who failed to take proper precautions and created an unreasonably dangerous
condition on the premises

12. Upon information and belief, the Dei`endant had notice of the aforesaid
unreasonably dangerous condition and/or created said condition

l3. The amount of damages sought by the plaintiff exceeds the jurisdictional limits of
all lower couns, and that this action is properly brought in the Suprerne Court ofErie County, New
York, pursuant to CPLR §3017(c).

l4. As a result of the foregoing and the negligence, carelessness and recklessness of the
defendant herein, plaintiff HANNAH M. MELI was caused to suffer severe, painful and
permanent personal injuries, was rendered sick, sore, lame, disfigured and disabled; Was caused to
endure great pain and suffering and mental anguish and upon information and belief will be caused
to endure such pain and suffering and mental anguish in the future; was caused and will be caused
in the future to incur and expend certain sums of money for hospital, medical and related care and
attention and was incapacitated from attending to her usual duties and activities, and upon
information and belief, has suffered the loss and/or limitation of quality and/or enjoyment of life
and upon information and belief will continue to suffer the loss and/or limitation of quality and/or
enjoyment of life; and was otherwise injured and damaged

WHEREFORE, plaintifi`, HANNAH M. MELl, demands judgment against the Defendant
in the amount to be determined upon the trial of this action along with the reasonable costs and

disbursements of this action and further relief as to this Court may seem just and proper.

Dated: March 29, 20!8

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